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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA


   JACOB ZOWIE THOMAS RENSEL,                       C.A. No. 1:17-cv-24500-JLK/Simonton
   individually and on behalf of all others
   similarly situated,

                                  Plaintiff,

    v.

    CENTRA TECH, INC., SOHRAB SHARMA,
    RAYMOND TRAPANI, ROBERT FARKAS,
    WILLIAM HAGNER,

                                  Defendants.



          PLAINTIFF’S MOTION AND INCORPORATED MEMORANDUM OF LAW
                  IN SUPPORT OF PLAINTIFF’S RENEWED MOTION
         FOR A TEMPORARY RESTRAINING ORDER, ASSET FREEZE, DOCUMENT
             PRESERVATION ORDER, AND ORDER TO MAKE ACCOUNTING
                         AND OTHER ANCILLARY RELIEF




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                                           INTRODUCTION
          Plaintiff Jacob Zowie Thomas Rensel (“Plaintiff”), 1 who has brought the instant action as
  a class action (the “Action”) pursuant to Fed. R. Civ. P. 23 on behalf of himself and the other
  public investors (the “Class”) in Centra Tech, Inc.’s (“Centra Tech”) initial coin offering (“Centra
  ICO”) 2 respectfully submits this motion (the “Motion”) and incorporated memorandum of law,
  pursuant to Fed. R. Civ. P. 65(b), renewing his request that the Court issue an order temporarily
  restraining and enjoining Defendants 3 from transferring or otherwise disposing of any of the assets
  raised in connection with the Centra ICO, including, but not limited to, Ether (“ETH”), Bitcoin
  (“BTC”), Litecoin (“LTC” ), other digital or fiat currencies (including US dollars), and any other
  assets that Defendants have since purchased with funds and assets, or any liquidations thereof,
  invested by the Class or collected by Defendants, in connection with the Centra ICO (the “ICO
  Proceeds”). In connection with the Centra ICO, Defendants unlawfully raised over $30 million in
  digital currencies by offering and selling unregistered securities in direct violation of the Securities
  Act of 1933 (the “Securities Act”). The ICO Proceeds rightfully belong to Plaintiff and the Class
  and, as detailed herein, there is a significant, immediate, risk that Plaintiff and the Class will suffer
  irreparable harm from further dissipation and misallocation of the ICO Proceeds. Accordingly,
  Plaintiff believes that it is necessary to have the parties brief this Motion on a shortened schedule
  and not pursuant to the timing set forth in Local Rule 7.1 (c). A separate form of proposed Order
  granting Plaintiff’s request is being filed contemporaneously herewith.
          This Motion is renewed because newly discovered factual developments concerning the
  status and safekeeping of the ICO Proceeds necessitate immediate judicial intervention.


  1      Plaintiff’s motion for appointment as lead plaintiff, filed jointly with Mr. Wang Yun He
  (“He”), is currently pending before this Court. Dkt. No. 46. Mr. He and Plaintiff are the only
  Class members that have sought appointment as lead plaintiff in the Action.
  2       The Centra ICO took place from approximately July 30, 2017 and October 5, 2017.
  3      Defendants are Centra Tech, Sohrab Sharma (“Sharma”), Raymond Trapani (“Trapani”),
  Robert Farkas (“Farkas”), and William Hagner (“Hagner,” and together with Sharma, Trapani, and
  Farkas, the “Individual Defendants,” and collectively with Centra Tech, “Defendants”).


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  Specifically, on April 2, 2018, the Securities and Exchange Commission (“SEC”) and the United
  States District Attorney’s Office for the Southern District of New York and Federal Bureau of
  Investigation (“FBI”) filed/announced separate actions (the “SEC Action”             4   and the “FBI
  Action”) 5 against Defendants Sharma and Farkas which reveal that Defendants have dissipated a
  significant amount of the ICO Proceeds in recent months. For example, the SEC Action states that
  as of March 30, 2018, Defendant Centra Tech’s “bank accounts had been depleted and most of its
  employees had been terminated” and that Defendant Farkas had been arrested by United States
  criminal authorities on April 1, 2018, while attempting to leave the United States. Ex 1 ¶¶ 84–5.
  Further, given Defendant Farkas’ apparent attempt to flee the United States and the ease in which
  digital currencies can be transferred across borders, there is a significant risk that one of the
  Defendants and/or their affiliates could attempt a similar scheme to escape the reach and
  jurisdiction of the American judicial system with the ICO Proceeds.
         As further detailed herein, the factual developments identified in the SEC and FBI Actions
  demonstrate a significant risk that the remaining ICO Proceeds are likely to be dissipated and/or
  misallocated absent immediate injunctive relief, thereby rendering proper relief in this Action
  impossible.
         Accordingly, Plaintiff seeks an order: (i) temporarily restraining Defendants from directly
  or indirectly, alone or in concert with others (including any officer, agent, employee and/or
  representative of Centra Tech), transferring or dissipating the ICO Proceeds; (ii) imposing an asset

  4       The SEC Action is largely comprised of factual allegations raised in this Action, and
  alleges that, from July 2017 through April 2, 2018, in connection with the Centra ICO and
  Defendant Centra Tech’s operations, Defendants Sharma and Farkas engaged in securities fraud
  and the unlawful offer and sale of unregistered securities in violation of the federal securities laws.
  A true and correct copy of the SEC Action is attached as Exhibit 1 to the Declaration of Donald
  J. Enright in Support of Plaintiff’s Motion (“Enright Decl.”).
  5      The United States District Attorney’s Office for Southern District of New York’s
  complaint alleges that, from July 2017 through April 2, 2018, in connection with the Centra ICO
  and Defendant Centra Tech’s operations, Defendants Sharma and Farkas engaged in: (I)
  Conspiracy To Commit Securities Fraud; (II) Securities Fraud; (III) Conspiracy To Commit Wire
  Fraud; and (IV) Wire Fraud (the “FBI Action”). A true and correct copy of the FBI Action is
  attached as Exhibit 2 to the Enright Decl.


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  freeze and constructive trust covering Defendants Centra Tech, Sharma, Trapani, Farkas and
  Hagner—along with Centra Tech’s current or former officers, agents, affiliates and the Individual
  Defendants’ affiliates, representatives and other relevant individuals’ accounts and/or digital
  currency wallets holding any ICO Proceeds; (iii) prohibiting Defendants, their officers, affiliates,
  and other relevant individuals from destroying, erasing or otherwise making unavailable for further
  proceedings in this matter, any records or documents (including data or information maintained in
  computer files or other electronic storage media) which relate to Centra Tech or the Centra ICO;
  (iv) requiring Defendants to provide an interim accounting, under oath, detailing: (a) all investor
  monies, assets, digital currencies, virtual currencies, cryptocurrencies, collected in connection with
  the Centra ICO and Centra Tech’s business operations; and (b) a schedule of all transactions
  involving the ICO Proceeds, including all transfers, liquidations, purchases and expenditures
  involving the ICO Proceeds from July 1, 2017 through the date of the accounting; and (v)
  scheduling a hearing on shortened time on Plaintiff’s anticipated motion for preliminary
  injunction (no later than the expiration of the temporary restraining order). 6


                                             ARGUMENT
  I.     STANDARDS OF LAW
         The purpose of injunctive relief is to preserve the status quo and the rights of the parties
  until a final judgment on the merits can be rendered. See Hollywood Mobile Estates Ltd. v.
  Cypress, 2011 U.S. Dist. LEXIS 162092, at *5 (S.D. Fla. July 1, 2011) (citing Schiavo ex rel.
  Schindler v. Schiavo, 403 F.3d 1223, 1231 (11th Cir. 2005).
         If there is a possibility that irreparable injury will occur before the hearing on a PI required
  by Rule 65(a) can be held, a temporary restraining order (“TRO”) may be available under Rule
  65(b). See Fed. R. Civ. P. 65(b). The standard used to evaluate whether the issuance of a TRO is



  6      The procedural history and facts relevant to this Motion are set forth in paragraphs 20
  through 32 of the Enright Declaration. The Enright Declaration is incorporated herein by
  reference.


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  warranted is the same as that used to evaluate whether the issuance of a preliminary injunction is
  appropriate. See Acushnet Co. v. 168GOLFSHOP, 2016 U.S. Dist. LEXIS 122335, at *7 (S.D.
  Fla. Sept. 8, 2016); see also Textron Fin. Corp. v. Unique Marine, Inc., 2008 U.S. Dist. LEXIS
  90245, at *12-13 (S.D. Fla. Oct. 22, 2008) (“The primary difference between the entry of a
  temporary restraining order and a preliminary injunction is that a temporary restraining order may
  be entered before the defendant has an adequate opportunity to respond, even if notice has been
  provided”).
         “A plaintiff seeking a preliminary injunction must establish that he is likely to succeed on
  the merits, that he is likely to suffer irreparable harm in the absence of preliminary relief, that the
  balance of equities tips in his favor, and that an injunction is in the public interest.” Winter v.
  Natural Res. Def. Council, 555 U.S. 7, 20 (2008).            “The same four factors apply to the
  determination of whether to grant a temporary restraining order or preliminary injunction: ‘(1) a
  substantial likelihood of success on the merits; (2) that irreparable injury will be suffered if the
  relief is not granted; (3) that the threatened injury outweighs the harm the relief would inflict on
  the non-movant; and (4) that entry of the relief would serve the public interest.’” Textron Fin.
  Corp., LEXIS 90245 at *12 (citing Schiavo ex rel., 403 F.3d at 1225–26).
         “A request for equitable relief invokes the district court’s inherent equitable powers to
  order preliminary relief, including an asset freeze, in order to assure the availability of permanent
  relief.” Levi Strauss & Co. v. Sunrise Int’l Trading, Inc., 51 F.3d 982, 987 (11th Cir. 1995); see
  also SEC v. Lauer, 445 F. Supp. 2d 1362, 1367 (S.D. Fla. 2006) (“Freezing assets is a well accepted
  equitable remedy employed to ‘preserve the status quo’ and is proper in actions arising under the
  Securities Act.”) (citing SEC v. ETS Payphones, Inc., 408 F.3d 727, 734-35 (11th Cir. 2005); see
  also Mediaone, Inc. v. E&A Beepers & Cellulars, 43 F. Supp. 2d 1348, 1355 (S.D. Fla. 1998)
  (ordering an asset freeze where plaintiffs demonstrated dissipation or misappropriation of assets
  claimed and stating “[t]he asset freeze will preserve the status quo and ensure that Plaintiff can
  avail itself of its possible remedies.”). The potential dissipation of assets claimed weighs in favor
  of granting an asset freeze.



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   II.    PLAINTIFF IS LIKELY TO SUCCEED ON THE MERITS OF HIS CLAIMS
          As discussed herein, Defendants violated Sections 12(a)(1) and 15(a), 15 U.S.C. §§
   77l(a)(1) and 77o(a), of the Securities Act by offering and selling unregistered securities during
   the Centra ICO. 7 Defendants’ actions in conducting the Centra ICO were in direct violation of the
   Securities Act and have deprived Plaintiff and the Class of their rights and protections under the
   federal securities laws. Accordingly, Plaintiff is likely to succeed on the merits of his claim.
          A.      Elements of the Claims
          Section 12(a)(1), 15 U.S.C. § 77l(a)(1), of the Securities Act creates a private right of action
   against any person who “offers or sells a security in violation of” Section 5, 15 U.S.C. § 77e, of
   the Securities Act. See e.g., Raiford v. Buslease, Inc., 825 F.2d 351, 353 (11th Cir. 1987) (“Section
   12[a](1) merely provides a remedy for a violation of that section by authorizing recovery in a civil
   action against any person who offers or sells a security in contravention of section 5(a)”). Section
   5 of the Securities Act prohibits the offer or sale of unregistered securities. 15 U.S.C. § 77e. “The
   lynchpin of the [Securities] Act is its registration requirement.” Omnicare, Inc. v. Laborers Dist.
   Council Const. Indus. Pension Fund, 135 S. Ct. 1318, 1323 (2015).
          Due to the varied and innumerable ways in which investors are likely to be manipulated
   and harmed absent the protections of the federal securities laws, Sections 5 and 12(a)(1) of the
   Securities Act provide for strict liability against any person who offers or sells an unregistered
   security. See Pinter v. Dahl, 486 U.S. 622, 638 (1988) (“The registration requirements are the
   heart of the [Securities] Act, and § 12[a](1) imposes strict liability for violating those requirements.
   Liability under § 12[a](1) is a particularly important enforcement tool, because in many instances
   a private suit is the only effective means of detecting and deterring a seller’s wrongful failure to
   register securities before offering them for sale.”) (Citation omitted); see also Raiford, 825 F.2d at
   354 (“Section 12[a](1) will allow a purchaser to recover his investment ‘regardless of whether he



   7       As Plaintiff’s Section 15(a) requires a primary violation under Section 11 or 12, the Court
   need only consider whether Plaintiff is likely to succeed on his Section 12 claims for purposes of
   the instant motion. See Miyahira v. Vitacost.com, Inc., 715 F.3d 1257, 1268 (11th Cir. 2013).


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   can show any degree of fault, negligent or intentional, on the seller’s part’”) (Citation omitted);
   Eaton v. Coal Par of W. Virginia, Inc., 580 F. Supp. 572, 576 (S.D. Fla. 1984) (“As modified by
   section 5, section 12[a](1) prohibits the use of interstate commerce or of the mails to aid in the
   offer or sale of an unregistered security . . .”).
           In order to plead a Section 5 violation, and thus liability under Section 12(a)(1), a “plaintiff
   need only allege [1] the sale or offer to sell securities, [2] the absence of a registration statement
   covering the securities, and [3] the use of the mails or facilities of interstate commerce in
   connection with the sale or offer.” Raiford, 825 F.2d at 354; see also SEC v. Big Apple Consulting
   USA, Inc., 783 F.3d 786, 806-07 (11th Cir. 2004) (setting forth same three elements for a Section
   5 violation); Scheck Investments, L.P. v. Kensington Mgt., Inc., 04-21160-CIV, 2009 WL
   10668565, at *4 (S.D. Fla. June 17, 2009) (same).
           As discussed in detail below, each of these three elements are plainly met, and thus,
   Plaintiff is likely to succeed on the merits of his claims.
           B.      No Registration Statement Was Filed or in Effect for the CTR Tokens
                   Defendants Offered and Sold
           The facts are indisputable that there was no Registration Statement filed with the SEC
   relating to the CTR Tokens or the Centra ICO. A thorough search of the SEC’s EDGAR database
   confirms that no such registration statement was ever filed. Indeed, the SEC itself has stated as
   such in the SEC Action. SEC Action, Ex. 1 ¶94. Thus, there is no possible dispute as to whether
   or not a registration statement for the CTR Tokens or Centra ICO was filed or ever became
   effective.
           The facts are similarly indisputable that Defendants participated in the offer and sale of
   CTR Tokens. Specifically, as stated in the September White Paper (defined in Enright Decl. ¶7),
   “[t]he tokens will be sold at 200 CTR to 1 ETH.” Enright Decl., Ex. 5 at pg. 13. Given the fact
   that Defendants Sharma, Trapani, Farkas have each been referenced as “co-founders” of Defendant
   Centra Tech, it is indisputable that they orchestrated and directed Centra Tech’s actions in




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   operating the Centra ICO. 8 As relates to Defendant Hagner, it is unknown exactly when he became
   a director of Centra Tech. However, Centra Tech’s announcement on October 27, 2017 regarding
   Hagner’s new role as President and Chairman of the Board stated, “[w]e are proud to announce
   that William Hagner, our board director, will now serve as both the President & Chairman of the
   board for Centra Tech, Inc.” Enright Decl., Ex. 13. Accordingly, Hagner was already a director
   of Centra Tech prior to October 27, 2017.
          Further, Defendants were fully-aware that they were “selling” CTR Tokens. For example,
   on or about August 14, 2017, Defendant Sharma was interviewed on the podcast, Neocash Radio.
   During this interview Sharma stated, “[r]ight now is a great time to join our system, we have a
   token sale that is going on, it finished on October 5th” and as related to “bonus” CTR Tokens
   offered to early investors, “I definitely encourage anybody to take advantage of that if they see it
   and jump on it while the price is low.” 9 In short, it is absolutely undisputable that Defendants
   offered and sold CTR Tokens and that the CTR Tokens were never registered with the SEC.
          C.      CTR Tokens Are Securities
          Under Section 2(a)(1), 15 U.S.C. § 77b(a)(1), of the Securities Act, the definition of a
   “security” includes an “investment contract.” “An investment contract is an investment of money
   in a common enterprise with a reasonable expectation of profits to be derived from the
   entrepreneurial or managerial efforts of others.” SEC v. Edwards, 540 U.S. 389, 393 (2004). “This
   definition ‘embodies a flexible, rather than a static, principle that is capable of adaption to meet
   the countless and variable schemes devised by those seeking to use others’ money on the promise
   of profits.’” Id. at 395 (citing SEC v. W.J. Howey Co., 328 U.S. 293, 301 (1946)).
          An application of the Howey test concludes that the CTR Tokens are deemed securities
   under the “investment contract” definition in Section 2(a)(1), 15 U.S.C. § 77b(a)(1), of the


   8      See Nathaniel Popper, How Floyd Mayweather Helped Two Young Guys From Miami Get
   Rich, New York Times (Oct. 27, 2017), Enright Decl., Ex. 8 at pg. 3.
   9     See JJ Epic, Centra Card Interview with President Sam Sharma, Neocash Radio (August
   14, 2017), available at http://neocashradio.com/blog/centra-card-interview-president-sam-
   sharma/ at 11:35-12:08.


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   Securities Act. Howey Co., 328 U.S. at 298–99. “Under Howey and its progeny, an offering is an
   investment contract if there is: ‘(1) an investment of money (2) in a common enterprise, (3) with
   the expectation of profits to come solely from the efforts of others.’” Tippens v. Round Island
   Plantation LLC., 2009 U.S. Dist. LEXIS 66224, at *30 (S.D. Fla. July 31, 2009) (citing SEC v.
   Unique Fin. Concepts, Inc., 196 F.3d 1195, 1199 (11th Cir. 1999). As detailed below, each
   element of the Howey test is plainly met, the CTR Tokens were securities, and thus, the Centra
   ICO was the offer and sale of unregistered securities.
                  1.     Centra ICO Participants Invested Money
          An investment of money under the Howey test includes digital currencies such as ETH,
   BTC, and LTC. Investors in the Centra ICO invested ETH, BTC, and LTC in order to receive
   CTR Tokens. Enright Decl., Ex. 14. Digital currencies such as BTC are deemed “money” for the
   purposes of the Howey test. See, e.g., SEC v. Shavers, No. 4:13-cv-416, 2013 U.S. Dist. LEXIS
   110018, at *4–5 (E.D. Tex. Aug. 6, 2013) (“First, the Court must determine whether the BTCST
   investments constitute an investment of money . . . Bitcoin is a currency or form of money, and
   investors wishing to invest in BTCST provided an investment of money”). Furthermore, “in spite
   of Howey’s reference to an ‘investment of money,’ it is well established that cash is not the only
   form of contribution or investment that will create an investment contract.” Uselton v. Comm.
   Lovelace Motor Freight, Inc., 940 F.2d 564, 574 (10th Cir. 1991).
        Moreover, as this Court has held, “[a]n ‘investment of money’ refers to an arrangement
   whereby an investor commits assets to an enterprise or venture in such a manner as to subject
   himself to financial losses.” SEC v. Friendly, 49 F. Supp. 2d 1363, 1368–69 (S.D. Fla. 1999)
   (citing Stowell v. Ted S. Finkel Inv. Serves., Inc., 489 F. Supp. 1209, 1220 (S.D. Fla. 1980); see
   also SEC v. Comcao Ltd., 855 F. Supp. 1258, 1260 (S.D. Fla. 1994) (same). As stated in the
   August White Paper (defined in Enright Decl. ¶6), “[n]othing in the Service, in the Terms, or in
   any statements or information contained on the Site . . . shall be construed as the guarantee of
   gaining profit or benefit in any other form. The Purchaser understands that participating in the
   Token Sale may result in financial losses.” Enright Decl., Ex. 4 at pg. 5.



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        In short, to participate in the Centra ICO and receive CTR Tokens, “purchasers” were
   required to invest financial assets in the form of ETH, BTC, or LTC, and such investment subjected
   investors to the risk of financial loss. Id. Thus, the first element of the Howey test is plainly met.
                  2.      Centra ICO Participants Invested in a Common Enterprise
          The Eleventh Circuit has adopted the vertical commonality test, under which “[a] common
   enterprise exists where the ‘fortunes of the investor are interwoven with and dependent upon the
   efforts and success of those seeking the investment or of third parties.’” SEC v. Unique, 196 F.3d
   at 1199 (citing Villeneuve v. Advanced Bus. Concepts Corp., 698 F.2d 1121, 1124 (11th Cir.
   1990)). “The requisite commonality is evidenced by the fact that the fortunes of all investors are
   inextricably tied to the efficacy of the [promoter].’” Id. at 1199–1200 (quoting SEC v. Koscot
   Interplanetary, Inc., 497 F.2d 473, 479 (5th Cir. 1974)).
          Here, the Centra ICO investments were pooled under the control of Defendant Centra Tech
   and the success of the Centra Debit Card, cBay, and CTR Token—and thus any potential value
   and profit stemming from the future valuation of CTR Tokens—aligned the interests of Centra
   ICO investors with those of the Defendants. Enright Decl. ¶26. As explicitly stated in the August
   White Paper, CTR Token holders could make a “profit” by “join[ing] in” Defendants’ “prosperity
   and mission.” Enright Decl., Ex. 4 at pg. 12.
          Similarly, as stated in the September White Paper, “14% [of CTR Tokens] will be dispersed
   to Centra Tech’s organizers, early financial specialists, and representatives as an impetus to
   making an enduring common interest and commitment to the tokens and their drawn out value.”
   (Emphasis added), Enright Decl., Ex. 5 at pg. 13. Given that the Individual Defendants are the
   “co-founders,” “organizers,” and/or “representatives” of Defendant Centra Tech, it is evident that
   a portion of any potential value ascribed to the CTR Tokens was expected to be allocated for their
   personal benefits, in addition to Plaintiff’s and the Class’ benefit. Accordingly, it is abundantly
   clear that the success of the CTR Token tied the interests of the Centra ICO investors to those of
   the Defendants and any such success was entirely reliant on Defendants’ actions. As such, the
   “common enterprise” element of the Howey test is plainly met.



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                  3.      Centra ICO Participants Invested With the Expectation of Profits
                          Produced By the Efforts of Others
          The third prong of the Howey test is satisfied when “the efforts made by those other than
   the investor are the undeniably significant ones, those essential managerial efforts which affect the
   failure or success of the enterprise.’” Balmert v. Pulte Home Corp., 445 Fed. Appx. 256, 262 (11th
   Cir. 2011) (quoting Williamson v. Tucker, 645 F.2d 404, 418 (11th Cir. 1981)); see also SEC v.
   Merchant Capital, LLC, 483 F.3d 747, 755 (11th Cir. 2007) (“‘the focus is on the dependency of
   the investor on the entrepreneurial or managerial skills of a promoter or other party’”) (quoting
   Gordon v. Terry, 684 F.2d 736, 741 (11th Cir. 1982)).
          Here, it is indisputable that the value and existence of the CTR Tokens, Centra Debit Card,
   and cBay have been at all times entirely dependent on Defendants’ actions. For example, as
   provided in the September White Paper, each “Purchaser” was purportedly required to agree and
   certify that they “understand[] and accept[] that while the individuals and entities, including Centra
   Tech, assigned to this task will make reasonable efforts to develop the Centra Tech System, it is
   possible that such development may fail and purchasers’ CTR Tokens could become useless and/or
   valueless due to technical, commercial, or regulatory challenges, among other reasons.” Enright
   Decl., Ex. 5 at pg. 5. Accordingly, the “essential managerial efforts” underpinning the success or
   failure of Centra Tech and the CTR Token were to be Defendants’. Thus, this element is satisfied.
                  4.      Representations To Investors
          Courts in the Eleventh Circuit also look to the representations made to investors and what
   they were led to expect. See e.g., Merchant, 483 F.3d at 756 (“Consistent with Howey’s focus on
   substance over form, we look at all the representations made by the promoter in marketing the
   interests . . ..”) (citing SEC v. Joiner, 320 U.S. 344, 353 (1943)). The Centra ICO contained terms
   highly analogous to standard securities offering. For example, the amount invested was directly
   proportional to the amount of CTR Tokens promised (200 CTR to 1 ETH) and the Centra ICO had
   a minimum investment requirement. Enright Decl., Ex. 5 at pg. 13. Such terms are frequently
   included in a standard securities offering.




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          Additionally, the White Paper stated “CTR Token holders will receive a 0.8% eth reward
   for every transaction in the network.” Enright Decl., Ex. 5 at pg. 17. As Defendant Sharma
   restated in an interview on the Neocash Radio podcast, “Currently we have a rewards system set
   up. And it is based on a monthly set up that token holders get point eight percent rewards of the
   network profit generated inside the terms and conditions of the token . . . [and it] is paid out
   monthly in Ether to their Centra wallets.” See supra note 9 at 7:42–8:21. This is obviously akin to
   a monthly dividend payment. As the SEC stated in the DAO Report, 10 “[w]hether or not a
   particular transaction involves the offer and sale of a security—regardless of the terminology
   used—will depend on the facts and circumstances, including the economic realities of the
   transaction.” Id. at pgs. 17–18; see also SEC v. Friendly, 49 F. Supp. 2d at 1368 (“Economic
   substance, not form, governs whether a given investment is a security”) (Citation omitted)). Here,
   the “economic substance” involved Defendants conditioning investors to expect “profit” from
   purchasing CTR Tokens. See, e.g., August White Paper, Enright Decl., Ex. 4 at pg. 12 (“Our token
   deal enables clients to join our prosperity and mission while generating a profit”).
          Indeed, the official “CentraTech” account on bitcointalk.org touted that the CTR Tokens
   “will surge in value.” Enright Decl., Ex. 12 at pg. 5, msg. #210. Similarly, prior to founding
   Centra Tech, Defendant Sharma had a different cryptocurrency project named “Coin Success.”
   See Enright Decl., Ex. 6. Sharma used the Coin Success Facebook to promote the Centra ICO.
   For example, on July 30, 2017, Coin Success made the following post:




   10     SEC, The Report of Investigation Pursuant to Section 21(a) of the Securities Exchange Act
   of 1934; The DAO, Securities and Exchange Commission, Release No. 81207 (July 25, 2017),
   Enright Decl., Ex. 11.


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          In short, the Centra ICO was obviously marketed as an opportunity to “make some
   money… #Investments #Stocks #Trading”. Id. Based on the foregoing, the CTR Tokens are
   undoubtedly securities—specifically, “investment contracts”—under the Howey test, and the
   Centra ICO thus constituted an offer and sale of unregistered securities. 11
          D.      Interstate Means Were Used to Offer and Sell the CTR Tokens
          The third and final element for establishing a violation of Section 5 of the Securities Act,
   and thus Section 12(a)(1), is easily established because Defendants used the Internet to offer and
   sell the CTR Tokens. September White Paper, Enright Decl., Ex. 5. See, e.g., SEC v. Levin, 2013
   U.S. Dist. LEXIS 20027, at *31 (S.D. Fla. Feb. 14, 2013) (“the Internet, which necessarily includes
   email, is an ‘instrumentality of interstate commerce.’”) (quoting United States v. Hornaday, 392
   F.3d 1306, 1311 (11th Cir. 2004)). Thus, “interstate means” were clearly used to accomplish the
   Centra ICO.



   11      Similarly, in the SEC Action, the SEC also alleges that each CTR Token sold in the Centra
   ICO “is an investment contract and, therefore, a ‘security’ as the term is defined under the
   Securities Act Section 2(a)(1) [15 U.S.C. § 77b(a)(1)] and the Exchange Act Section 3(a)(10) [5
   U.S.C. § 78c(a)(10)].” Ex. 1 ¶¶1,15.


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          E.      All of the Evidence Clearly Indicates That the Defendants’ Arbitration
                  Argument Relies on Falsified Affidavits and Computer Records
          Defendants’ only real effort at defeating Plaintiff’s claims has been a motion to compel
   arbitration (the “MTCA”). Dkt. No.26. In response, Plaintiff has submitted compelling evidence
   demonstrating that the MTCA is premised entirely on false declarations and falsified computer
   records. Dkt. Nos. 31, 32, 38 and 50.
          For example, in the initial MTCA papers, Defendants argued that they “know” Plaintiff
   agreed to mandatory arbitration using an online process (the “Process”) on the Centra Tech website
   on July 30, 2017, because he purportedly submitted all of his information, including his wallet
   address, during the Process. Plaintiff proved that this contention was demonstrably false by, inter
   alia, submitting an email from October 2017 in which Defendants requested his wallet address.
   Dkt. No. 31 at 13–14.
          Similarly, Defendants claimed that Class members were “required” to register with Centra
   Tech to purchase CTR Tokens. Dkt. No. 26 at 4. Indeed, such “fact” was submitted under penalty
   of perjury by Allan Shutt, Centra Tech’s General Counsel. Plaintiff has proven this statement to
   be flatly false as the only “requirement” to purchase CTR Tokens was to send ETH to the CTR
   smart contract address. Dkt. No. 31 at 9–11 and 17–19. Despite the foregoing, Mr. Shutt has
   failed to acknowledge his false statement or even attempt to correct the record. This particularly
   egregious in light of the fact that he is a licensed attorney and should be aware of his obligations
   to do so.
          Rather than address the fact that Plaintiff refuted, in whole, the arguments in the initial
   MTCA papers, or explain such verifiable falsities therein, Defendants submitted a reply brief that
   contained additional falsities, as well as improper new evidence and arguments. Dkt. No. 34. As
   such, Plaintiff was required to file a motion to strike such new materials to alert the Court not only
   of Defendants procedurally improper introduction of new evidence and arguments but also of the
   clear false or misleading statements of fact contained therein that would significantly prejudiced
   Plaintiff and the Class were they to remain part of the record. Dkt. No. 38.


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          Indeed, Plaintiff’s motion to strike submitted compelling evidence indicating that: (i) the
   supplemental declaration of Sean Sykes (“Sykes”) submitted false and self-contradictory
   statements by, inter alia, misrepresenting the statements contained in the first Sykes declaration;
   (ii) that despite Leizle Ho’s (“Ho”) claims to the contrary, she is undoubtedly affiliated with Centra
   Tech; and (iii) the newly materialized record purportedly showing that Plaintiff used the Process
   (the “Rensel Customer Record”) appears to have been fabricated because (a) there is a less than
   0.000000482253% that Ms. Ho and Plaintiff completed the Process on the exact same minute on
   the exact same day (July 30, 2017); (b) it does not include a record of Plaintiff ever visiting the
   Centra Tech website, (c) it does not include a record of the “mass email” purportedly sent to
   Plaintiff the day before the record was created, and (d) the fact that the “customer records”
   submitted are far from “unalterable digital evidence.” Dkt. No. 38 at 17–23.
          Now, these new events involving the SEC and FBI corroborate the strong inference that
   Defendants’ MTCA was premised entirely on falsehoods and fabricated evidence. Indeed, the FBI
   Action recounts in detail how Defendants have intentionally falsified documents, destroyed
   evidence, and otherwise engaged in deceitful conduct in connection with the Centra ICO and its
   aftermath. For example, the FBI Action summarizes Defendants Sharma and Farkas’ “scheme to
   defraud” by stating that from “July 2017 up to and including the day of this Complaint” Sharma
   and Farkas, and others known and unknown, participated in a scheme to defraud purchasers of
   Centra Tech cryptocurrencies by making material misrepresentations about Centra Tech, its
   purported partnerships with Bancorp, Visa, and Mastercard, its products, its licensing in various
   states, and its executive personnel.” Ex. 2 ¶15. Additionally, the FBI Action details Farkas’
   destruction of documents relating to his research in preparation of plans to flee the United States.
   ¶¶ 33–34.
          Similarly, the SEC Action details records obtained in which an investor informed Sharma
   that they had figured out that Centra Tech had falsely offered a 0.8% “dividend reward” to Centra
   ICO participants. Ex. 1 ¶80. Rather than deny the claim, Sharma offered to pay the investor, but
   only the investor, the reward so long as the investor executed a non-disclosure agreement. Id. This



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   evinces Sharma’s willingness to use Plaintiff’s and the Class’ investments to bribe those who
   uncover his unlawful schemes.
          The foregoing echoes Defendants’ recent legal woes in New York State, in which
   defendants Sharma and Trapani have both pled guilty to felony perjury charges in connection with
   an arrest for driving under the influence of alcohol. Complaint ¶55; Enright Decl. Exs. 16–17
   (case details showing perjury charges against Sharma and Trapani). This supports Plaintiff’s
   contention that these defendants have exhibited a pattern of false statements and falsifying facts
   and evidence, even in court proceedings.
          This same pattern has played out in this case, in which Defendants have exhibited little
   regard for the integrity of the judicial system throughout the pendency of this Action. With respect
   to the MTCA, Defendants have repeatedly submitted demonstrably false and misleading
   statements of fact and evidence in their filings.       Furthermore, despite Plaintiff repeatedly
   identifying and disproving such falsities and misrepresentations on the record, Defendants have
   opted to ignore their prior statements (many of which were submitted under penalty of perjury), in
   favor of submitting yet additional new false or misleading statements and evidence. Such conduct
   has unnecessarily wasted judicial resources and significantly delayed the progress of the Action,
   to the detriment of the Class’ ability to recover the ICO Proceeds rightfully owed them. 12
          For these reasons, the MTCA is unlikely to succeed and Plaintiff is likely to succeed in
   prosecuting these claims in this Court. Thus, Plaintiff is likely to succeed on the merits on his
   claim, and the MTCA is extremely unlikely to prevent Plaintiff from doing so.
   III.   PLAINTIFF AND THE CLASS FACE IRREPARABLE HARM
          An asset freeze is appropriate where there is a likelihood of dissipation of assets claimed
   and absent such injunctive relief the equitable remedies claim may become unavailable. See, e.g.,
   SEC v. Johnson, 2001 U.S. Dist. LEXIS 27403, at *12-13 (S.D. Fla. Dec. 27, 2001) (stating that

   12     Had Defendants adhered to the terms of the agreement and provided the discovery agreed
   upon in open court, Enright Decl. ¶¶20–24, Plaintiff would have received substantially similar
   productions to those the SEC received and may well have preempted the additional dissipations of
   the ICO Proceeds that occurred throughout January and February 2018


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   the potential “dissipation of assets and destruction of records make an asset freeze necessary so
   that a detailed accounting may be undertaken. Otherwise, these funds may be further disbursed,
   transferred, and/or dissipated to the degree that any permanent relief the District Court may order
   may be rendered meaningless.”). Here, there is substantial threat that the ICO Proceeds will be
   dissipated or misappropriated long before this matter can be brought to judgment. As such,
   Plaintiff and the Class are clearly threatened with irreparable harm. Id.
           The Initial TRO argued that Plaintiff and the Class were threatened with irreparable harm
   because, inter alia, the egregious deceptive activities Defendants engaged in to solicit investments
   in the Centra ICO and Defendant Sharma’s history relating to alleged fraudulent activity indicated
   that Defendants could not be trusted to safeguard and manage the ICO Proceeds pending resolution
   of the Action. See, e.g., Hudson Nat’l Bank v. Shapiro, 695 F. Supp. 544, 548 (S.D. Fla. 1988)
   (ordering an asset freeze and stating that “[t]he past practice of [defendant] in utilizing different
   factoring agents, different fictitious names, and different bank accounts present a very immediate
   danger of dissipation of funds . . .”).
           As evidence of the deceptive activities Defendants engaged in, the Initial TRO stated that
   Defendants solicited investments in the Centra ICO by, inter alia, creating false identities,
   including one for Centra Tech’s purported CEO, “Michael Edwards” (who does not exist), and
   marketing non-existent business relationships with VISA and Mastercard. Dkt. No. 4 at 16–17.
   These facts have been confirmed by the SEC and FBI. SEC Action, Ex. 1 ¶¶52–68, 72–77; FBI
   Action, Ex. 2 ¶¶22–25, 28–31. Similarly, the Initial TRO papers focused on the fact that Defendant
   Sharma: has had numerous run-ins with the law relating to alleged fraudulent activity and the
   mismanagement of money, which reasonably call into question his trustworthiness to maintain the
   ICO Proceeds, and has been publicly accused of misappropriating ICO Proceeds by attempting to
   pay an online blogger who wrote a negative review about the Centra ICO to remove said review.
   Dkt. No. 4 at 17–18. In addition to the foregoing, the Initial TRO argued that the ease with which
   cryptocurrencies can be dissipated anywhere in the world—effectively instantaneously—




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   significantly increased the risk that Plaintiff’s and the Class’ investments could vanish overnight.
   Id. at 18.
           The recent factual developments revealed in the SEC and FBI Actions have established the
   validity of Plaintiff’s concerns regarding the Defendants ability to safeguard the ICO Proceeds.
   The SEC and FBI Actions show that Defendants have been actively dissipating the ICO Proceeds
   and cannot not be entrusted with the safekeeping of the remaining proceeds. For example, as stated
   in the SEC Action, as of March 30, 2018, Centra Tech’s “bank accounts had been depleted and
   most of its employees had been terminated.” Ex. 1 ¶84; see also FBI Action, Ex. 2 ¶34.e–f (stating
   that Centra Tech had “terminated virtually all of its employees except certain top executives . . .”).
   Clearly Defendants must have been dissipating the ICO Proceeds at an alarming rate to prompt the
   termination of “virtually all” of Centra Tech’s employees and completely deplete the company’s
   bank accounts.
           Additionally, the FBI Action reveals that Defendant Farkas had recently requested, and
   obtained, research regarding foreign extradition laws and had planned to flee the United States on
   April 1, 2018. Ex. 2 ¶34–35. Based, in part, on the foregoing, the FBI Action requested an arrest
   warrant for Farkas, id, and he was arrested prior to boarding his flight. SEC Action, Ex. 1 ¶85.
   The foregoing sequence of events give rise to substantial concerns regarding the safekeeping of
   the remaining ICO Proceeds.
           On December 29, 2018, Defendants provided Plaintiff with the Assurances Letter, which
   referenced the Wallet containing portions of the ICO Proceeds.            Enright Decl. ¶21.     The
   Assurances Letter stated that the Wallet was secure because the private key to said Wallet was
   split in half and only accessible by two individuals jointly. Id. One of these individuals was
   Defendant Farkas, and the other is Centra Tech attorney Allan Shutt. Id. As noted, Centra Tech’s
   bank accounts are depleted and thus, the Wallet presently contains the only readily identifiable
   funds rightfully belonging to Plaintiff and the Class. SEC Action, Ex. 1 ¶84. In light of the fact
   that the United States criminal authorities evidently suspected that Farkas was attempting to flee




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   the United States and avoid extradition, it is abundantly clear that Farkas should have no access
   whatsoever to the Wallet, let alone be one of only two persons who to have such access. 13
          Additionally, given the fact that Mr. Shutt is the only individual that has been referenced
   on the record as being employed by Centra Tech as an “attorney,” 14 it is reasonable to infer that
   Mr. Shutt is the Employee who conducted the legal research into foreign extradition laws for
   Defendant Farkas and communicated such events to the FBI’s Witness. Enright Decl. ¶27. Thus,
   it appears that control of the Wallet containing the Class’ ICO Proceeds is currently accessible by
   Mr. Farkas, who was arrested attempting to flee the country, and Mr. Shutt, who likely assisted
   Farkas with his plans to flee the country. 15 Further, even if Mr. Shutt is not the Employee, his
   propensity to submit false statements of fact under penalty of perjury (discussed supra), his failure
   to correct such falsities, and his continuous assistance with Defendants’ unlawful conduct clearly
   demonstrates that he should not be entrusted with any role in safeguarding Plaintiff’s and the Class’
   funds. Based on the foregoing, it is imperative that Wallet be secured, along with any additional
   ICO Proceeds yet to be identified, by Court order.
          In light of recent developments, Plaintiff and the Class run the very real risk with each
   passing day that Defendants will dissipate the rest of their investments, and consequently, the
   remedies sought may become unavailable. See Kreuzfeld A.G. v. Carnehammar, 138 F.R.D. 594,



   13     Additionally, the FBI Action confirms that as of April 2, 2018, Defendant Sharma was still
   employed by Centra Tech as a “top executive.” FBI Action, Ex. 2 ¶34. This is particularly
   concerning given the fact that Defendants have publicly claimed that Sharma ceased his
   employment with Centra Tech in October, 2017. Enright Decl., Ex. 13.
   14     Plaintiff is only aware of one other Centra Tech employee who is an attorney, David Brill.
   However, Mr. Brill was hired as the CEO of Centra Tech and thus, it is fairly unlikely that Farkas
   would ask the CEO of the company to conduct research on his behalf.
   15      Moreover, review of the Ethereum blockchain reveals that the Wallet does not appear to
   be a multisignature wallet. Multisignature wallets increase security by requiring multiple
   addresses to sign transactions and transfer funds, and it is standard practice to use multisignature
   wallets to secure large amounts of cryptocurrency. Without this multisignature protection, a single
   individual could transfer all the funds from the Wallet with access to its private key. There is thus
   the very real risk that Farkas, Shutt, their respective affiliates, or another Centra Tech officer or
   employee could dissipate the funds in the Wallet in a matter of moments.


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   605 (S.D. Fla. 1991) (“Indeed, it cannot be doubted that remedy for the Plaintiff class would be
   meaningless if [defendants] were permitted to place the assets . . . beyond the reach of this court .
   . .”). Accordingly, Plaintiff and the Class are likely to suffer irreparable harm absent injunctive
   relief.
   IV.       THE BALANCE OF THE EQUITIES FAVORS PLAINTIFF
             Here, there is no question that the equities favor the entry of the injunctive relief. Absent
   injunctive relief, Plaintiff and the Class may be unable to obtain the equitable relief of rescission,
   let alone compensatory damages. See, e.g., Mediaone, Inc., 43 F. Supp. at 1355 (ordering an asset
   freeze and stating “[t]he asset freeze will preserve the status quo and ensure that Plaintiff can avail
   itself of its possible remedies.”); see also SEC v. Bar Works Capital, LLC, No. 17-cv-4396, 2017
   U.S. Dist. LEXIS 170983, at *19-20 (N.D. Cal. Oct. 16, 2017) (“The equities weigh in favor of
   granting the asset freeze. Without a freeze, defrauded investors may not be able to recover moneys
   wrongfully obtained from them.”). Furthermore, as the SEC and FBI Actions have alleged, and
   supported with substantial non-public evidence, the ICO Proceeds were raised unlawfully and
   Centra Tech’s business has, for all intents and purposed, already shut down. As such, there is no
   lawful purpose for Defendants to use or have any access to the ICO Proceeds and thus, there is no
   harm to Defendants to even slightly counter-balance the significant harm facing Plaintiff and the
   Class. Simply stated, the equities plainly favor freezing the ICO Proceeds for the benefit of
   investors who put their money into an unregistered securities scheme, before the invested funds
   are completely hidden, depleted or dissipated.
   V.        THE PUBLIC INTEREST WILL BE SERVED BY A TRO
             The grant of a temporary restraining order by the Court would be in the public interest here.
   As demonstrated above, public policy strongly supports preserving funds rightfully owned by
   Plaintiff and the Class, as Defendants have clearly attempted to evade federal securities laws and
   deprive investors of rights and protections provided thereunder. Given that “[t]he registration
   requirements are the heart of the [Securities] Act,” Pinter, 486 U.S. at 638, public policy clearly
   supports judicial intervention where parties brazenly flout these requirements, as Defendants have



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   done here. The ultimate remedy sought here is the rescission of the investments made by the Class,
   which were in the form of ETH, BTC, or LTC and/or compensatory damages. As discussed, these
   assets are easily transferred and could be dissipated quickly be Defendants. Accordingly, the grant
   of injunctive relief will preserve the assets at issue, and thereby serve the public interest. See e.g.,
   SEC v. Lauer, 445 F. Supp. 2d at 1367 (“Freezing assets is a well accepted equitable remedy
   employed to ‘preserve the status quo’ and is proper in actions arising under the Securities Act.”)
   (Citation omitted)).
                                             CONCLUSION
           For the foregoing reasons, Plaintiff respectfully requests that the Court grant the instant
   Motion.


     Dated: April 5, 2018                                  Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

          I hereby certify that on April 5, 2018, I caused to be served the foregoing Renewed Motion

   for a Temporary Restraining Order, along with the accompanying Declaration of Donald J. Enright

   with exhibits, by filing with the CM/ECF system, which in turn will serve all following parties

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